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 6                          IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Frank Jarvis Atwood,                           NO. CV-22-00860-PHX-MTL (JZB)
10                  Plaintiff,
                                                   JUDGMENT IN A CIVIL CASE
11   v.
12   David Shinn, et al.,
13                  Defendants.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered pursuant to the Order filed

17   on 6/04/2022.
18          IT IS ORDERED AND ADJUDGED that there is no just reason to delay entry of

19   judgment pursuant to Federal Rule of Civil Procedure 54(b). Judgment is hereby entered

20   in favor of Defendants as to Counts VI and VII only.
21                                           Debra D. Lucas
                                             District Court Executive/Clerk of Court
22
23   June 6, 2022
                                             s/ Rebecca Kobza
24                                      By   Deputy Clerk
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